Case 2:05-cr-20056-SH|\/| Document 42 Filed 07/14/05 Page 1 of 2 Page|D 53

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lN THE UN|TED STATES DlSTR|CT COURT

FoR THE wEsTERN olsTRicT oF TENNEssEE JUL 1 t 2005
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Thomn M. Godd. C|¢¢k
U. S. D\¢trict Court

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)
Plaintifr, ) cR. No. 05-20056-Ma

)
vs. )
)
wlLLlE ANDRA wooos et al., )
)
Defendants. )

 

ORDER SEAL|NG SUPERSED|NG INDlCTMENT

 

Upon motion of the United States and for good cause shown, the superseding

indictment against the above-named Defendant(s) is hereby ordered sealed until further

 

order of the Court.
UN|TED STATES MAGISTRATE JUDGE
DATE: QZ»¢¢'¢ Q"

This-doeument entered on the dock

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

